                                                               United States Bankruptcy Court
                                                               Western District of Washington
In re:                                                                                                                  Case No. 20-11870-TWD
Nicholas Clifton Barnard                                                                                                Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0981-2                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: Mar 16, 2021                                                Form ID: dbtrclm                                                           Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 18, 2021:
Recip ID                  Recipient Name and Address
db                      + Nicholas Clifton Barnard, 6806 Oswego PL NE, #101, Seattle, WA 98115-6400
                        + Kay Hessemer, 1302 N 152nd St #14, Shoreline, WA 98133-6248

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 18, 2021                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 16, 2021 at the address(es) listed
below:
Name                               Email Address
James K Miersma
                                   on behalf of Creditor Santander Consumer USA Inc. bknotice@mccarthyholthus.com

Michelle Carmody Kaplan
                                   on behalf of Debtor Nicholas Clifton Barnard michelle@kaplanlawpllc.com jbolen@kaplanlawpllc.com

Ronald G. Brown
                                   rgblaw@nwlink.com rgbrown@ecf.axosfs.com

United States Trustee
                                   USTPRegion18.SE.ECF@usdoj.gov


TOTAL: 4




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Form dbtrclm (07/2013)

                                   UNITED STATES BANKRUPTCY COURT
                                        Western District of Washington
                                          700 Stewart St, Room 6301
                                              Seattle, WA 98101


In
Re:                                                         Case Number: 20−11870−TWD
       Nicholas Clifton Barnard                             Chapter: 7

       Debtor(s).


                    NOTICE OF FILING OF PROOF OF CLAIM BY DEBTOR OR TRUSTEE




TO: Kay Hessemer

The Debtor or Trustee in this case filed a proof of claim in your behalf, pursuant to Fed. R. Bankr. P. 3004.


Dated: March 16, 2021

                                                            Mark L. Hatcher
                                                            Clerk of the Bankruptcy Court




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